
672 S.E.2d 21 (2008)
STATE
v.
Wesley David BOLLINGER.
No. 449A08.
Supreme Court of North Carolina.
December 17, 2008.
Jarvis Edgerton, IV, for Bollinger.
Robert Wilkins, Assistant Attorney General, Roxann Vaneekhoven, District Attorney, for State of NC.
The following order has been entered on the motion filed on the 16th day of December 2008 by Plaintiff for Extension of Time to File Brief:
"Motion Allowed. State of NC shall have up to and including the 6th day of January 2009 to file and serve his/her brief with this Court. By order of the Court in conference this the 17th day of December 2008."
